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PORTIONS HIGHLY CONFIDENTIAL, ATTORNEYs'EYESoNLY [REDACTED

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

 

)
KATHLEEN KIRCH, e¢ al, ) Case No. 10-2047-JAR-GLR
)
Plaintiffs, ) DECLARATION OF ANDREW CASE
)
EMBARQ MANAGEMENT CO., )
et al, )
)
Defendants. )
)
I, Andrew Case, hereby declare and state:
1. My statements in this declaration are based on my personal knowledge

and familiarity with the subject-matter of this declaration. If called on to testify about
the matters addressed in this declaration, I would be willing and able to testify compe-
tently regarding those matters based on my familiarity and personal knowledge,
except where my knowledge is based upon information and belief and, as to those
matters, I understand and believe them to be true.

2. This declaration relates to the use of NebuAd’s targeted-advertising net-
work architecture by Embarq. To summarize, this declaration addresses the broad
scope of information Embarq enabled NebuAd to acquire; the unusual tracking me-
thods NebuAd employed to track and profile Embarq customers across the entire
Internet; NebuAd’s use of customer data to generate competitive intelligence reports
for ISPs; NebuAd’s unsupported security claims; the atypical involvement of ISPs in

the delivery of targeted advertisements; the ISP technical staff’s level of awareness of
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the NebuAd device and its purpose; and the inadequacy of Embarq’s privacy policy in
relationship to the actual operations of the NebuAd architecture—particularly in
NebuAd’s cross-domain analysis of other websites’ cookies for purposes of identify-

ing Embarq’s customers.

QUALIFICATIONS
3. I make this declaration as an expert in the fields of computer security
and digital forensics.
4. I am a Senior Security Researcher at Digital Forensics Solutions, a pro-

vider of computer security and digital forensics investigations services to organiza-
tions and institutions.
5. The services I provide to clients include:

(a) digital forensics investigations—examining computer systems to
reconstruct or identify causes of events and conditions on computer systems and
networks;

(b) incident response handling—veritying the existence and scope,
identifying causes, and determining methods of mitigating the effects of ongoing or
recently occurring incidents that pose threats to the confidentiality, integrity, security,
and operability of computer systems and networks;

(c) code audits—examining computer software code to identify and

classify potential vulnerabilities through which the software could be exploited or
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compromised and determining ways to remediate those vulnerabilities and mitigate
the risks they pose;

(d) network penetration tests—proactively testing the security posture
of corporate networks in order to identify risks and vulnerabilities and to assist in the
remediation process of vulnerabilities found

6. In providing these services, clients rely on my knowledge, skill, expe-
rience, and training in understanding and analyzing technologies such as computer
network components, network communications protocols (including packet transfer),
systems and application software, and the technologies and techniques for securing
those resources.

7. In addition, clients rely on my knowledge, skill, experience, and training
in aligning policies and procedures with the technology-related standards and metho-
dologies that apply to the deployment of network devices; network communications;
data classification and prioritization of risks to data, software, and network assets;
incident response; and the collection, preservation, and analysis of digital forensics
evidence.

8. To improve the efficiency of collecting digital evidence and expand the
scope of digital evidence that can be meaningfully analyzed, I have personally devel-
oped a system to automate the capture and correlation of certain types of digital
evidence. This system performs network traffic analysis, including comprehensive

packet analysis (which is referred to in some contexts as “deep packet inspection” or
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“DPI”), to scrutinize web site and web application functions, respond to network-
based data exfiltration security incidents, reverse-engineer network protocols, analyze
and extract packet contents, and execute a number of other tasks that require the
correlation of network traffic with relevant information residing on the device from
which the traffic originated—such as user data, log files, system registry entries,
contents of volatile memory, or other information artifacts. My paper detailing this
system' has been cited over fifteen times and has received considerable positive
feedback and interest.

9. My knowledge of network communications and of systems that perform
packet analysis, particularly my skill and experience gained in developing the system
described, are highly relevant to my analysis and conclusions in this matter because
both involve the application of deep packet inspection techniques. That is, both in-
volve the capture of all packets in a stream of network traffic from a user’s device en
route to a server for a given time period, the reading of the packets to identify those
portions containing communications that utilize particular Internet protocols, and the
extraction of the communicative content from selected packets. Although the digital
forensics analysis performed by my system uses DPI for a different purpose than the
system implemented by Embarq and NebuAd, both systems utilize DPI to analyze and

‘A. Case, et al., “FACE: Automated digital evidence discovery and correlation,” Digital
Investigation 5, Supplement 1 (2008), S65 — S75. The Proceedings of the Eighth Annual
Digital Forensic Research Workshop (DFRWS) Conference.
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extract communicative content from packets at the same “deep” layer of the same type
of electronic transmission—Internet Protocol-based network traffic.

10. Related to computer and network security, I have performed numerous
source code audits, reverse engineering of malware and commercial binary applica-
tions, network and application penetration tests, and network architecture reviews.

11. Related to digital forensics, I have performed numerous small and large-
scale digital investigations as well as incident response engagements. I have also
helped a number of companies develop incident response policies to promote minimi-
zation of risk, admissibility of evidence in legal proceedings, and establishment of a
chain of command during incidents.

12. I have worked as a researcher and developer on two government-funded
research grants”, both related to the fields of computer security and digital forensics.

13. I have led training on incident response handling (including analysis of
network data), digital forensics, and computer security to audiences of varying tech-
nical ability and to both private and public sector.

14. As detailed in the list of my publications (Exhibit A), I have published
and presented a number of peer-reviewed publications in the fields of computer

security and digital forensics.

* Senior Developer, “REGISTRY DECODER: Automatic Acquisition and Reporting of
Relevant Microsoft Windows Registry Contents,” Award No. 2009-FD-CX-K102,
National Institute of Justice, 2010—present

Student Participant, “Providing an Integrated Interface for Secure Computing,” Space
and Naval Warfare Systems Center, 2008
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15. Previously, I have been a security consultant for a computer security firm
(Neohapsis, Inc.) and a network administrator responsible for configuration and
security of clients’ networks (Spirent Communications).

16. I havea Bachelor of Science Degree in Computer Science from the Uni-
versity of New Orleans and am a Master’s Degree candidate in that program. I am a
GIAC (Global Information Assurance Certification) Certified Forensics Analyst

(GCFA).

MATERIALS CONSIDERED

17. | My statements in this declaration are based on my own subject-matter
expertise and my analysis of materials I have reviewed as of the date of this declara-
tion, including documents provided to me by attorneys from the law firms of Kam-
berLaw, LLC and Panish Shea & Boyle LLP (marked NEBUAD0050-2671;
NEBMV0001-3647; EQ0496-2851; the January 18, 2011 deposition testimony of

Will Stelle), and the publicly available documents indicated below.

OBSERVATIONS AND ANALYSIS

A. How did the NebuAd-enabled network architecture operate and what was
its functionality?

18. The purpose of the NebuAd architecture was to monitor ISP customer
web traffic in order to gain information for delivering targeted advertisements. To
achieve this, the NebuAd network appliance was deployed in-line, meaning that it was

placed directly in the flow of network traffic, so that it would be able to monitor and
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modify all network traffic entering and leaving a particular ISP’s network. The in-line
device leveraged this position to employ deep packet inspection (DPD) on all customer
data entering and leaving the network.

19. Packets are layered sets of data that traverse a computer network, and
DPI is the act of un-layering network packets in order to obtain or analyze the content
of the innermost data. Unlike network routers, which only examine the outer layers of
a packet in order to forward data along the network, devices performing DPI have
complete access to all packet contents. This includes information such as E-mail
messages, instant messenger chat sessions, web browsing activity, file uploads and
downloads, online gaming, and all other Internet based activity.

20. The NebuAd architecture utilized DPI in order to collect information
from an ISP’s customers in order to uniquely profile them for the purposes of targeted,
behavioral advertising. Unlike typical web-based advertising, which can only profile
users when they visit websites that are within the network of websites served by that
advertising company, the NebuAd device allowed for tracking of activity across the
entire Internet. This ability to track customer activity across the entire Internet was a
selling point of the architecture and was clearly expressed as a competitive advantage
in anumber of the considered NebuAd publications and manuals. To achieve this
tracking, NebuAd’s device utilized DPI to identify unencrypted, web-based traffic
(HTTP), and then parsed the packets in order to isolate search terms, information from

online forms, and other customer-specific data. This captured information, along with
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a hashed version of the subscriber’s IP address, was then sent to servers outside of the

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21. According to the testimony of NebuAd CEO Bob Dykes
(http://archives.energycommerce.house.gov/cmte_ mtgs/110-ti-hrg.071708.Dykes-
testimony.pdf), and a technical report by Robert M. Topolski, “NebuAd and Partner
ISPs: Wiretapping, Forgery and Browser Hijacking”
(http://www.freepress.net/files/NebuAd Report.pdf), NebuAd also utilized methods
other than DPI to track ISP customers: the NebuAd device modified HTTP responses
in order to insert JavaScript that allowed NebuAd to track users on websites outside of
NebuAd’s advertising network. This JavaScript, which was inserted on pages outside
of NebuAd’s advertising network, was used to load a cookie on the user’s machine
and to store information necessary for NebuAd to later serve the user targeted adver-
tisements. As previously stated, normally, an online advertising company is limited to
interacting with users only when those users visit websites within the advertising
company’s network. NebuAd, by placing JavaScript at the end of arbitrary web re-
quests, was able to bypass this restriction. For example, in Mr. Topolski’s technical
report, it 1s shown that NebuAd was placing code at the end of Google’s home page.

Mr. Topolski also states that he confirmed with Google that they had no contractual
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agreement with NebuAd or any of its partner companies. Since the cookie was created
under the domain of a NebuAd partner, faireagle.com in the cited research report,
when tracked users visited websites within NebuAd’s advertising network, the cookie
could be read in order to contact the NebuAd processing architecture and receive a
targeted advertisement. By placing cookies on user’s browser even when they are not
interacting with NebuAd’s advertising network, the NebuAd UTA ensured that users
could be uniquely tracked across all domains. Also, unless NebuAd placed an expira-
tion date on the cookies it placed or users have since changed their web browser or
operating system, NebuAd’s cookies would still be resident on the Embarq customers

tracked by the NebuAd architecture.

B. How did NebuAd fulfill its security claims?

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C. Were the Nebuad device’s functions aligned with normal ISP operations?
26. While packet monitoring technologies have appropriate roles within an

ISP, unique tracking of customers for the purposes of behavioral advertising is not
one. Regularly accepted uses of DPI include troubleshooting Gin order to determine
the source of errors), security monitoring, such as checking e-mail attachments for
viruses, enforcement of copyright protection, and bandwidth throttling to meet quality
of service (QOS) guarantees. DPI, for the purpose of behavioral advertising, is outside
of the normal scope of ISP operations. That behavioral advertising was not a normal
function of ISPs was noted by Bob Dykes, NebuAd CEO, in his testimony to the
House Subcommittee on Telecommunications and the Internet when he stated that
NebuAd partnered with [SPs in order to bring them into the advertising market.
Furthermore, in Embarq’s response to Congress (EQ02789-02792), it was stated that
the company would no longer use such technologies until the privacy concerns had
been addressed, demonstrating the non-essential nature of the application of DPI in
the business models of NebuAd’s ISP customers. In its response, Embarq made no
complaint that its business would be unable to continue without the NebuAd device or
another similarly purposed device. This reinforces that the fact that such operations

are unnecessary for functional ISP operation.
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27. As reported in Mr. Topolski’s report, “NebuAd and Partner ISPs: Wire-
tapping, Forgery and Browser Hyacking” (http://www.treepress.net/files/-
NebuAd Report.pdf), the NebuAd architecture also engaged in forgery of IP ad-
dresses and network port numbers in order to synchronize NebuAd’s JavaScript code
within the normal flow of the HTTP traffic. To successfully accomplish this, the
device not only had to represent itself as a foreign server (google.com, in the refe-
renced paper), but it also had to manipulate sequence numbers used by the TCP
protocol to ensure reliability of communications. This direct modification of network
traffic and masquerading as foreign servers is far outside of the scope of an ISPs
normal business, and was performed solely to track [SP customers throughout their
online browsing sessions. These actions also constitute packet forgery, as original
packets are modified in-stream, as well as a code injection attack as JavaScript is

placed within an HTTP response.

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D. To what extent would the operations of the NebuAd device have been
apparent to ISP technical staff?

29. The NebuAd product documentation, brochures, manuals, and other re-
levant materials considered indicate that ISP technical staff would be aware that the
NebuAd device would be placed on the network and of its purpose.

30. Network staff who routinely diagnose, maintain, and update equipment
on the network would become aware of a device with such an active presence on the
network, such as the UTA. Networking monitoring tools, commonly used by ISPs to
quickly detect issues on the network, would have also alerted network personnel to
this change in configuration. The mere placement of the device within the network,
one of the last hops before leaving the ISP network, would have also alerted ISP staff
to the fact that the device was capable of monitoring and manipulating all customer
traffic.

31. In the specific instance of Embarq’s use of the NebuAd device, Section
1.1 of the Technology Trial Evaluation Agreement between Embarg and NebuAd

(EQ02083-2095) states that NebuAd will install devices at mutually agreed upon
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location(s) within the ISP network. The selection of the installation location(s) would
have necessarily required planning with technical staff. In addition, the involvement
of Embarq’s technical personnel is indicated by NebuAd’s agreement in Section 3.2 to
adhere to Embarq’s data security requirements.

32. Also, in the specific instance of Embarq’s use of the NebuAd device, the
Customer Test Plan for Embarq NebuAD UTA-100 (EQ01493-1507), section 2.1 lists
a number of “Customer Responsibilities” which include providing a equipment for a
lab testing environment as well as a “test engineer” for “configuration verification of
devices in the lab.”

33. Finally, in the deposition of Mr. Will Stelle about the installation and
testing of the NebuAd appliance within Embarq’s infrastructure, the process of how
the device was installed and tested was given. This includes the creation and distribu-
tion of a “plan” by the “network planning team” and the delivery of the plan to the
“operations team” who performed the tasks outlined in the plan. It was also revealed
that three technical members from Embarq were involved in the project along with
two engineers from NebuAd. Mr. Stelle also testified that NebuAd had informed him
during this process that the device in place performed DPI in order to determine
advertising relevant to a specific user. Testing of the device by an Embarq employee
named “Gregorz” is also discussed, including his performance monitoring of the
device as it was placed on the lab network. Mr. Stelle also stated specifically that he

was aware that HTTP traffic was processed by the NebuAd device.
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E. How were Nebuad’s activities reflected in notices to ISP customers?

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35. According to Embarq’s July 23, 2008 response to Congressional com-
mittee inquiries (FQ02789-02792). Embarq did not follow these steps. In the re-
sponse, it was stated that only two weeks’ notice was given to subscribers and that, in
order to inform subscribers, the website was updated with the certain information. No

mention of postal mail or e-mails to subscribers was noted in this response. There is

also no mention of the “Cookie Notice,

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a notice that was meant to notify subscribers that if they deleted
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their cookies or if they changed their web browsers or the operating systems on their
computers, they would then need to opt-out again.

36. Also, the privacy policy update that was provided with Embarq’s re-
sponse to the Congressional inquiry did not fully disclose the nature of the activities
that were being performed by NebuAd’s technology. For instance, Embarq’s privacy
policy update only mentioned websites visited and online searches in its list of data
sets from which user information would be collected in order to deliver targeted
advertisements. Based on reviewed documents, including NebuAd’s architecture
descriptions (e.g., NEBUAD0047 1-544) and the Ponemon Institute’s Privacy Review
(NEBUAD001439- 1460), other user information was acquired in this information
collection process, such as the subscriber's IP address, browser and operating system

types and versions, and non-NebuAd cookies.

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38. The privacy policy also omits any mention of the device's ability to ma-
nipulate and forge network traffic, both leaving and entering the network. Since this
capability was used to track customers across the Internet, through placing JavaScript
at the end of legitimate webpages, its omission seems unreasonable, and makes the

privacy policy inadequate as a fair notice to customers.

I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Executed this 14th day of February, 2011, at New Orleans, Louisiana

Ondhrun laps.

ANDREW CASE

Digital Forensics Solutions, LLC
1215 Prytania Street

Suite #207

New Orleans, LA 70130

Tel.: 504-874-0787

Fax: 504-529-9575
www.digitalforensicssolutions.com

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DECLARATION OF ANDREW CASE
EXHIBIT A
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PUBLICATIONS

Journal and Conference Publications

A. Case, “Forensic Memory Analysis of Android’s Dalvik VM,” Proceed-
ings of the 2011 Source Seattle Conference, Seattle, WA, publication forth-
coming.

A. Case, “De-Anonymizing Live CDs through Physical Memory Analysis,”
Proceedings of the 2011 Blackhat D.C. Briefings, Washington, DC, 2011

A. Case, L. Marziale, C. Neckar, G. G. Richard II, “Treasure and Tragedy
in kmem_cache Mining for Live Forensics Investigation,” Proceedings of
the 10th Annual Digital Forensics Research Workshop (DFRWS 2010),
Portland, OR, 2010

A. Case, L. Marziale, G. G. Richard III, “Dynamic Recreation of Kernel
Data Structures for Live Forensics,” Proceedings of the 10th Annual Digital
Forensics Research Workshop (DFRWS 2010), Portland, OR, 2010

A. Case, A. Cristina, L. Marziale, G. G. Richard III, V. Roussev, “FACE:
Automated Digital Evidence Discovery and Correlation,” Proceedings of
the 8th Annual Digital Forensics Research Workshop (DF RWS 2008), Bal-
timore, MD, 2008

Conference Presentations and Panels

“De-Anonymizing Live CDs through Physical Memory Analysis,” Proceed-
ings of the 2011 Blackhat D.C. Briefings, Washington, DC, 2011

Invited panelist, “The Future of Forensics Memory Analysis,” Digital Fo-
rensics Research Workshop (DFRWS 2010), Portland, OR, 2010.

“Treasure and Tragedy in kmem_ cache Mining for Live Forensics Investi-
gation,” 10th Annual Digital Forensics Research Workshop (DFRWS
2010), Portland, OR, 2010.
